Case 5:05-cv-01416-TS-KLH Document 221 Filed 12/18/08 Page 1 of 6 PageID #: 3162




                          UNITED STATES DISTRICT COURT

                         WESTERN DISTRICT OF LOUISIANA

                                 SHREVEPORT DIVISION

 CHARLES M. SMITH AND                           :   CASE NO.: CV05-1416S
 BOSSIER RIVERSIDE, L.L.C.                      :
                                                :
 VERSUS                                         :   JUDGE STAGG
                                                :
 RIVERWALK ENTERTAINMENT,                       :
 L.L.C., LOUISIANA RIVERWALK,                   :
 L.L.C. AND THE CITY OF BOSSIER                 :
 CITY, LOUISIANA                                :   MAGISTRATE JUDGE HAYES


                      STIPULATION OF DISMISSAL PURSUANT
                            TO FED. R. CIV. P. 41(a)(1)(ii)

               NOW COME plaintiffs, CHARLES M. SMITH and BOSSIER RIVERSIDE,

 L.L.C. (collectively, “plaintiffs”), and defendants, RIVERWALK ENTERTAINMENT,

 L.L.C., LOUISIANA RIVERWALK, LLC, CITY OF BOSSIER CITY, LOUISIANA, JOHN

 GOOD, RIVERWALK MANAGER, L.L.C., BW LAND HOLDINGS, LLC, O & S

 HOLDINGS, LLC, PAVAN HOSPITALITY L.L.C. and LASALLE BANK, N.A., AS

 TRUSTEE FOR MERRILL LYNCH MORTGAGE INVESTORS, INC. COMMERCIAL

 MORTGAGE PASS-THROUGH CERTIFICATES SERIES 2005-CKI 1 (collectively,

 “defendants”), who, through counsel, stipulate that plaintiffs' suit against all defendants, and

 the CITY OF BOSSIER CITY, LOUISIANA’s Counterclaim against plaintiffs, be and are

 each HEREBY DISMISSED, with prejudice, with each party to bear its own court costs,

 this 18th day of December, 2008.


                                                1
Case 5:05-cv-01416-TS-KLH Document 221 Filed 12/18/08 Page 2 of 6 PageID #: 3163



                                     MCMICHAEL, MEDLIN, D’ANNA &
                                     WEDGEWORTH, L.L.C.



                                     By:       /s/ James C. McMichael, Jr.
                                           James C. McMichael, Jr., LSBA #10443
                                           W. Deryl Medlin, LSBA #09405

                                     504 Texas Street, Suite 400
                                     Shreveport, Louisiana 71101
                                     Telephone: (318) 221-1004
                                     Telecopier: (318) 221-0008
                                     E-mail:      jmcmichael@mmw-law.com
                                                  dmedlin@mmw-law.com

                                     AND

                                     Randall S. Davidson, LSBA #4715
                                     Julia E. Blewer, LSBA #20110
                                     DAVIDSON, JONES & SUMMERS, APLC
                                     509 Market Street, Suite 800
                                     Shreveport, Louisiana 71101
                                     Telephone: (318) 424-4342
                                     Telecopier: (318) 226-0168
                                     E-mail:      jblewer@djslawfirm.com
                                     E-mail:      rsdav@djslawfirm.com

                                     ATTORNEYS FOR PLAINTIFFS,
                                     CHARLES M. SMITH AND BOSSIER
                                     RIVERSIDE, L.L.C.




                                       2
Case 5:05-cv-01416-TS-KLH Document 221 Filed 12/18/08 Page 3 of 6 PageID #: 3164



                                     PETTIETTE, ARMAND, DUNKELMAN,
                                      WOODLEY, BYRD & CROMWELL, L.L.P.

                                     By:      /s/ Edwin H. Byrd, III
                                           Edwin H. Byrd, III, LSBA #19509

                                     P.O. Box 1786
                                     Shreveport, LA 71166-1786
                                     Telephone: (318) 221-1800
                                     Telecopier: (318) 226-0390
                                     E-mail:      ebyrd@padwbc.com

                                     AND

                                     Aaron B. Booth
                                     Law Offices of Aaron B. Booth
                                     445 S. Figueroa St., Suite 3200
                                     Los Angeles, CA 90071
                                     Telephone: (213) 228-0330
                                     Telecopier: (213) 489-2204
                                     E-mail:      boothlaw@msn.com

                                     ATTORNEYS FOR DEFENDANTS,
                                     RIVERWALK ENTERTAINMENT L.L.C.,
                                     LOUISIANA RIVERWALK LLC,
                                     RIVERWALK MANAGER, L.L.C. AND
                                     BW LAND HOLDINGS, LLC

                                     LEMLE & KELLEHER


                                     By:         /s/ Dale Cox
                                                 Dale Cox, LSBA #4518

                                     401 Edwards St., Suite 1000
                                     Shreveport, LA 71101
                                     Telephone: (318) 227-1131
                                     Telecopier: (318) 227-1141
                                     E-mail:      dcox@lemle.com

                                     ATTORNEYS FOR DEFENDANT,
                                     CITY OF BOSSIER CITY


                                       3
Case 5:05-cv-01416-TS-KLH Document 221 Filed 12/18/08 Page 4 of 6 PageID #: 3165




                                               /s/ R. Lane Pittard
                                           R. Lane Pittard, LSBA #22135

                                     P.O. Box 338
                                     Benton, LA 71006
                                     Telephone: (318) 741-8108
                                     Telecopier: (318) 965-2317
                                     E-mail:      lanepittard@bellsouth.net

                                     ATTORNEYS FOR DEFENDANT,
                                     JOHN GOOD, JR.

                                     BLANCHARD, WALKER, O'QUIN & ROBERTS
                                          (A Professional Law Corporation)


                                     By:             /s/ W. Michael Adams
                                           W. Michael Adams, LSBA #2338
                                           Stacey D. Williams, LSBA #22689
                                           Susannah W. Poljak, LSBA #29048
                                           B. Slattery Johnson, Jr., LSBA #31486

                                     400 Texas Street, Suite 1400
                                     Post Office Drawer 1126
                                     Shreveport, Louisiana 71163-1126
                                     Telephone: (318) 221-6858
                                     Telecopier: (318) 227-2967
                                     E-mail:      madams@bwor.com
                                                  swilliams@bwor.com
                                                  spoljak@bwor.com
                                                  sjohnson@bwor.com

                                     AND




                                       4
Case 5:05-cv-01416-TS-KLH Document 221 Filed 12/18/08 Page 5 of 6 PageID #: 3166



                                     Aaron B. Booth
                                     Law Offices of Aaron B. Booth
                                     445 S. Figueroa St., Suite 3200
                                     Los Angeles, CA 90071
                                     Telephone: (213) 228-0330
                                     Telecopier: (213) 489-2204
                                     E-mail:      boothlaw@msn.com

                                     ATTORNEYS FOR DEFENDANT,
                                     O & S HOLDINGS, LLC

                                     THE STEEG LAW FIRM, L.L.C.



                                     By:       /s/ Charles L. Stern, Jr.
                                           Charles L. Stern, Jr., LSBA #12451
                                           Jaclyn C. Hill, LSBA #30555
                                           Danielle C. Babashoff, LSBA #31026

                                     201 St. Charles Avenue, Suite 3201
                                     New Orleans, LA 70170
                                     Telephone: (504) 582-1199
                                     Telecopier: (504) 582-1240
                                     E-mail:       cstern@steeglaw.com
                                                   jhill@steeglaw.com
                                                   dbabashoff@steeglaw.com

                                     ATTORNEYS FOR DEFENDANT, LASALLE
                                     BANK, N.A., AS TRUSTEE FOR MERRILL
                                     LYNCH MORTGAGE INVESTORS, INC.
                                     COMMERCIAL MORTGAGE PASS-THROUGH
                                     CERTIFICATES SERIES 2005-CKI 1




                                       5
Case 5:05-cv-01416-TS-KLH Document 221 Filed 12/18/08 Page 6 of 6 PageID #: 3167



                                     WEEMS, SCHIMPF, GILSOUL, HAINES,
                                     LANDRY & CARMOUCHE, (APLC)


                                     By: /s/ Robert H. “Lad” Shemwell, Jr.
                                        Robert H. "Lad" Shemwell, Jr., LSBA #22616

                                     912 Kings Highway
                                     Shreveport, Louisiana 71104
                                     Telephone: (318) 222-2100
                                     Telecopier: (318) 226-5100
                                     E-mail:      shemwell@weems-law.com

                                     ATTORNEYS FOR DEFENDANT,
                                     PAVAN HOSPITALITY L.L.C.




                                       6
